     Case 2:14-cr-00168-TOR            ECF No. 1444         filed 01/04/16      PageID.7562 Page 1 of 2
PROB 12C                                                                        Report Date: December 30, 2015
(7/93)
                                                                                                    FILED IN THE
                                       United States District Court                             U.S. DISTRICT COURT
                                                                                          EASTERN DISTRICT OF WASHINGTON


                                                       for the
                                                                                                  1/4/16
                                                                                               SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision

 Name of Offender: Angel N. Lyons                           Case Number: 2:14CR00168-TOR-19
 Address of Offender:                 , Spokane Valley, Washington 99212
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: August 31, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison - 5 days                   Type of Supervision: Supervised Release
                          TSR - 36 days
 Asst. U.S. Attorney:     George J. C. Jacobs, III          Date Supervision Commenced: September 6, 2015
 Defense Attorney:        John Stephen Roberts, Jr          Date Supervision Expires: September 5, 2018

                                            PETITIONING THE COURT

              To issue a summons and incorporate the violation(s) contained in this petition in future
proceedings with the violation(s) previously reported to the Court on 11/03/2015 and 11/12/2015.

The probation officer believes that the offender has violated the following condition(s) of supervision:


 Violation Number       Nature of Noncompliance

           12           Special Condition #19: You shall abstain from the use of illegal controlled substances, and
                        shall submit to urinalysis testing, as directed by the supervising officer, but no more than
                        six tests per month, in order to confirm continued abstinence from these substances.

                        Supporting Evidence: Angel Lyons violated the conditions of her supervised release in
                        Spokane, Washington, on or about November 30, 2015, by failing to appear for random drug
                        testing at Alcohol Drug Education Prevention and Treatment (ADEPT).
           13           Special Condition #14: You shall abstain from alcohol and shall submit to testing
                        (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                        than six tests per month, in order to confirm continued abstinence from this substance.

                        Supporting Evidence: Angel Lyons violated the conditions of her supervised release in
                        Spokane, Washington, on or about November 30, 2015, by failing to appear for random
                        Breathalyzer testing at ADEPT.

           14           Special Condition #19: You shall abstain from the use of illegal controlled substances, and
                        shall submit to urinalysis testing, as directed by the supervising officer, but no more than
                        six tests per month, in order to confirm continued abstinence from these substances.

                        Supporting Evidence: Angel Lyons violated the conditions of her supervised release in
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                    Spokane, Washington, on or about December 7, 2015, by consuming a controlled substance,
                    methamphetamine.
          15        Special Condition #14: You shall abstain from alcohol and shall submit to testing
                    (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                    than six tests per month, in order to confirm continued abstinence from this substance.

                    Supporting Evidence: Angel Lyons violated the conditions of her supervised release in
                    Spokane, Washington, on or about December 7, 2015, by consuming alcohol.
          16        Special Condition #19: You shall abstain from the use of illegal controlled substances, and
                    shall submit to urinalysis testing, as directed by the supervising officer, but no more than
                    six tests per month, in order to confirm continued abstinence from these substances.

                    Supporting Evidence: Angel Lyons violated the conditions of her supervised release in
                    Spokane, Washington, on or about December 22, 2015, by consuming a controlled
                    substance, methamphetamine.
          17        Special Condition #19: You shall abstain from the use of illegal controlled substances, and
                    shall submit to urinalysis testing, as directed by the supervising officer, but no more than
                    six tests per month, in order to confirm continued abstinence from these substances.

                    Supporting Evidence: Angel Lyons violated the conditions of her supervised release in
                    Spokane, Washington, on or about December 26, 2015, by consuming a controlled
                    substance, methamphetamine.


                                       I declare under penalty of perjury that the foregoing is true and correct.


                                                         Executed on:     12/30/2015
                                                                          s/Melissa Hanson
                                                                          Melissa Hanson
                                                                          U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [X ]     The Issuance of a Summons
 [ ]      Other
                                                                          Signature of Judicial Officer

                                                                          January 4, 2016
                                                                          Date
